                 UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF NORTH CAROLINA


Shauna Williams, et al.
       v.                                   Case Number: 1:23CV1057
Destin Hall, et al.
________________________________________________________________________

North Carolina State Conference of the
NAACP, et al.
       v.                                                 Case Number       1:23CV1104
Philip Berger, et al.


                                        NOTICE
        Take notice that a proceeding in this case has been SET as indicated below:

      PLACE:       Hiram H. Ward Bldg., 251 N. Main St., Winston-Salem, NC
      COURTROOM NO: 1
      DATE & TIME: May 28, 2024-11:00 a.m.
      PROCEEDING:  Initial Pretrial Conference

Local Rule 16.1(b) provides that the parties must hold their R. 26(f) conference at least 14
days before the scheduled initial pretrial conference and submit to the court their report
within 10 days thereafter. If the parties agree on a pretrial schedule, they are to submit to
the court a Joint Rule 26(f) Report. The court will consider it and, if agreeable, enter it and
cancel the pretrial hearing. If parties are unable to reach agreement on a discovery plan and
therefore submit separate Rule 26(f) Reports (LR 16.3), they shall appear for the scheduled
initial pretrial conference.

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John S. Brubaker, Clerk

By: /s/ Anita Engle, Deputy Clerk

Date: April 19, 2024

TO:    All Counsel and/or Parties of Record




      Case 1:23-cv-01057-TDS-JLW Document 43 Filed 04/19/24 Page 1 of 1
